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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

ELLIS RAY HICKS                                                       CIVIL ACTION

VERSUS                                                                NO. 19-108-SDD-RLB

LOUISIANA DEPARTMENT OF PUBLIC
SAFETY & CORRECTIONS, ET AL.

                                              ORDER

       The scheduling conference presently set for March 27, 2025 is CANCELLED.

       The deadlines established below are based on the parties’ submissions as modified

by the court and are final deadlines. In accordance with Federal Rule of Civil Procedure

16(b), the following deadlines are established:

       1.      The deadline to join other parties or to amend the pleadings is May 10, 2025.1

       2.      Discovery must be completed as follows:

               a.      Exchanging initial disclosures required by F.R.C.P. 26(a)(1): Completed.

               b.      Filing all discovery motions and completing all discovery except experts:
                       October 24, 2025.

               NOTE: Any motions filed regarding discovery must be accompanied by a
               certificate of counsel for the moving party, stating that counsel have conferred in
               person or by telephone for purposes of amicably resolving the issues and stating
               why they are unable to agree or stating that opposing counsel has refused to so
               confer after reasonable notice.

               c.      Disclosure of identities and resumés of experts:

                       Plaintiff(s):           November 7, 2025.

                       Defendant(s):           December 5, 2025.




1
 Amendments sought after this deadline may be permitted in accordance with the good cause standard of
Rule 16 of the Federal Rules of Civil Procedure.
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                d.      Expert reports must be submitted to opposing parties as follows:

                        Plaintiff(s):            December 5, 2025.

                        Defendant(s):            January 9, 2026.

                e.      Discovery from experts must be completed by February 6, 2026.

        3.      Deadline to file dispositive motions and Daubert motions: March 6, 2026.

        4.      Deadline to file pre-trial order: August 25, 2026.2

                Prior to the filing of the pretrial order, the parties will exchange or make
                available for inspection all exhibits which the parties will or may introduce at
                trial.

        5.      Deadline to file motions in limine: August 31, 2026.

                Any responses to Motions in Limine shall be filed within seven (7) days after
                the filing of the motion.

        6.      Deadline to file an affidavit of settlement efforts: August 10, 2026.

        7.      Pre-trial conference date: September 8, 2026 at 3:00 p.m. in the chambers of the
                Honorable Shelly D. Dick.

        8.      Deadline to submit joint jury instructions, voir dire, verdict forms, and trial briefs
                to the presiding judge: August 31, 2026.

                The information regarding the Honorable Shelly D. Dick’s pretrial order
                may be found on the court's website at (https://www.lamd.uscourts.gov) under
                “Judges’ Info.”

        9.      A 3-day jury trial is scheduled for 9:00 a.m. beginning on September 21, 2026
                in Courtroom 3.

        The time limits set forth in this order shall not be modified except by leave of court upon

a showing of good cause. Joint, agreed or unopposed motions to extend scheduling order

deadlines will not be granted automatically. All motions to extend scheduling order deadlines

must be supported by facts sufficient to find good cause as required by Rule 16, Fed.R.Civ.P.


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  Motions to extend or otherwise modify this date and the dates/deadlines that follow shall be directed to
the district judge.
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Extensions of deadlines governing discovery must be supported with information describing the

discovery already completed, what necessary discovery remains, the parties’ efforts to complete

the remaining discovery by the deadline, and any additional information showing that the parties

have diligently pursued their discovery. Further, a motion to extend any deadline set by this

Order must be filed before its expiration.

       Parties are directed to consult the Middle District’s Administrative Procedures which

contains additional mandatory filing rules and procedures. The Administrative Procedures are

available for viewing and download on the court’s website (https://www.lamd.uscourts.gov)

under “E-Filing,” “CM/ECF Info,” “Administrative Procedures.”

       The parties may contact the court at (225) 389-3602 should they wish to schedule a

settlement conference.

       Signed in Baton Rouge, Louisiana, on March 20, 2025.



                                             S
                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE
